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Exhibit F

Defendant, Dawn Dorland Perry’s
Letter of July 2015

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Dawn Dorland Letter Dated July 7s 2015

i (Qevarc Ghariamd
\ daahy F SDE
Boar theee who are interested, tm hapew te share «a
etter here that | onoposed to cur Bertlard recipient
tthe woman wie pemeived may reniniant's wife's
kites], which got shared wickedly sowed thee Gata,
tramapkant team: ;
Dear Recipient, i
My name is, Dam Gorkand. im a S3-yeerotd white j
 farssle, areci | tive with sy hesbamct i LA.
“in BOSS | read my first articte abaut Hbsirigg kiciresy !
dometion, and in the peers since, | have Geen }
consiankiy reminded-awhether triggeracd by mar
be Mag fF ann a earitert, or thenegh the stories ef ‘
Ly BEople | kmee-—of the herrowing experianen of :
|; diatysis and the dire need in our meWmtey for kidneys. i
fy eheve Bhat i koew, from the moment | first beceme|
; aac of the moessthility af donating ane of my
| Ridmeys, that J powde ere day find = way to oes this.

i Quece | hed af! tye information, | wae nmeaivated te
snmste st 2 time whem, Gie to medivesd scwannes and
the existence of the Mational Recney Fteggietry-——

ye Pe a

jj sspecielly the laape they we made matching :
4 npetibhe strangers through osiresd epahage——d :
| sGeaod te make an imssimunm teupset in ethers’ fives :
J with ory aindnmal isk to myself, Permaralhy, srg :
lg chiidhosd was marked Gy trauma and abuse? i didnt — -
fi heme the opportunity to form secure attachments with. ‘
4 any family of origin. A positive cuteome oF my aarhy :
4 Gife is enxpathy, fel ft omemed a well of ipaasibaity i
4 Bebvemn me ard stremgers. Wihife PEGS Way ear

a people wo he motivated tn donate aa anges to a
Gian of tarnify vernkeer én need, fo me, the saifering :
4 af strangers ts fast ae resi, i
4 Beant tell you how hempy lam that my denetion i
of Swen b Le ——tewe Grgans ane” four sumgenrtes later—~ t
4 sesuited Jn yeu receiving FREDACTED Ts kidney, :
‘i TRreugphiaue mg peemeretion fer beceamimng a choner,
2 Wibzh apamned precisely eight spanths fram Bay First

1 deeting to the date of ocr Bug eries,. f wis repost i
| axcthad shout the recipient who would come off ef the :
{ Gaeeesed doner list and end our chain. | femme a :
: mmaiborhhy af my mental emergy om imagining snd ,
1 aelebrating “moa, ;
| My gift, which begat [REDACTED 's, aralls no strings. |
Wu aes cesering of an extenced and hacelthsr life t
1 oshmephy for being Heese. i
2 Please knew that mg husband and lwogld fowe by ‘
? ire more shout You, aod Perhaps een meet you :
' one dey But § aCORpE any level of imroleerent or i
f RSEporese Fron you, eer. if if is rece. j
i +
? Thank yor for ceeding this better, andi ibe. weil, :
Memodly, :
i Wiser I

